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Proposed Attorneys for Debtor-in-Possession

                        UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF OREGON


In re                              )         CASE NO.: 17-33893-tmb11
                                   )
                                   )         SCHEDULING     AND     CASE
Creekside Homes, Inc.,             )         MANAGEMENT CONFERENCE REPORT
                                   )
                                   )         Date:        November 20, 2017
      Debtor.                      )         Time:        2:00 p.m.
                                   )         Place:       Courtroom 4
                                   )
__________________________________ )

        In response to the Court’s “ORDER SETTING SCHEDULING AND
CASE MANAGEMENT CONFERENCE AND NOTICE OF POSSIBLE DISMISSAL”, the
Debtor offers this Report. It is supported by the Declaration of Andrew Burton
("Declaration”) and the attached exhibits.
I.      Post-Petition Matters - Legal
        The Debtor filed two first day motions addressing cash collateral and payroll.
 The Court has entered both orders.
        The Debtor attended the Informal Debtor Interview (IDI) meeting with the U.S.

SCHEDULING AND CASE MANAGEMENT
CONFERENCE REPORT                                                       Page 1 of 18




                    Case 17-33893-tmb11      Doc 48   Filed 11/13/17
Trustee. The Debtor requested and was granted an extension of time to file its
Statement of Financial Affairs. The Debtor has filed its Statement on November 9th
(docket no. 45) The Debtor will file its October Monthly Operating Report on or
before November 15th.
      The Debtor has filed all post-petition tax returns due to be filed post-petition.
      Four entities potentially hold interests in the Debtor’s monies or receivables:
      •     Funding Circle loaned $100,000 at 19.29% interest on or about
            October 26, 2016.
      •     Swift loaned $100,000 at 17% on or about March 7, 2017.
      •     Knight Capital loaned $104,000 at 28% interest on or about March 8,
            2017.
      •     LoanMe loaned $75,000 in August, 2017. The interest rate is 69%.
      2.    Post-Petition Matters - Business and Financial
      The Debtor will not reach the projection gross revenues post-petition for the
following reasons:
      1.    The presence of mechanics liens on 3 jobs where monies are owed has
            caused the construction lenders to decline to pay the Debtor. The
            lenders want the mechanic liens cleared from title. The Debtor does not
            have a clear path to doing so without authorizing payment of prepetition
            claims to the mechanic lien claimants. Also, there is effectively no profit
            for the Debtor (or even a serious amount of money for cash flow) if the
            Debtor could authorize such payments. It seems that the better strategy
            is to reject these four construction contracts and to incur the damage to
            reputation instead. The Debtor’s personnel had believed that with the
            chapter 11 filing, the lenders would release the funds. The Debtor does


SCHEDULING AND CASE MANAGEMENT
CONFERENCE REPORT                                                       Page 2 of 18




                     Case 17-33893-tmb11   Doc 48    Filed 11/13/17
            not expect to realize the gross revenue which it had initially projected.
      2.    One on-going job without mechanics liens, the D.L. job, has a property
            owner refusing to sign off on the monthly draw request to the
            construction lender. The property owner contended that the Debtor was
            seeking to draw more than what it was entitled to draw. The Debtor
            made a point of agreeing to every one of the property owner’s demands
            but the property owner is not interested in signing off on the draw
            request. The Debtor believes that the property owner is acting in less
            than good faith and is seeking inappropriate advantages. This property
            owner has retained an attorney and counsel have been communicating.
            The Debtor has stopped work on the D.L. job pending resolution. This
            will cost the Debtor revenue of approximately $21,520 which the Debtor
            had forecast to be paid during the week ending November 17th.
      As a result, there are some small post-petition payables which the Debtor
expects to pay in the week prior to November 20th.
      To reflect the changes in revenues the Debtor has experienced, over the past
couple of days, the Debtor has prepared a revised projection of revenues, COGS,
expenses, net and cash flow.    (Exhibit “A”) It is meant to supplant the projection
attached to the previously filed Amended Motion for Use of Cash Collateral on a
Final Basis. The revision reflects lowered revenues. Also, expenses in the week
ending 11/10 were moved to the next week due to a lack of funds.
      The Debtor has four lenders it has utilized when a construction loan was
needed. Two lenders are more expensive than the other two. Post-petition the Debtor
has had one of the lower cost construction lenders inform the Debtor that it would
not approve new construction loans for the Debtor during the chapter 11 case and


SCHEDULING AND CASE MANAGEMENT
CONFERENCE REPORT                                                      Page 3 of 18




                  Case 17-33893-tmb11     Doc 48     Filed 11/13/17
declined to fund one pending construction loan for a project ready to go. Conversely,
the second lower cost lender has informed the Debtor that despite the chapter 11
filing, it will fund construction loans and will increase to ten (10) the number of
construction loans it will fund at any one time where the Debtor is the general
contractor. The Debtor is attempting to change the first lender’s declination.
       Some sub-contractors are continuing to do business with the Debtor on credit
terms; others are not.
       The Debtor has been informing property owners about the chapter 11 filing,
including property owners whose properties are encumbered by mechanic liens.
       On November 8th, an arbitration was held in New Jersey in an action Swift
Financial brought against the Debtor and the two guarantors, Mr. and Mrs. Burton.
The Debtor believes that the arbitration is completed other than an issue concerning
the amount of damages and that the arbitrator may be issuing a judgment against
the guarantors.
       Knight Capital brought suit prepetition against the Debtor for breach of
contract and against the Burtons on guaranties in Florida state court. The Debtor
filed a notice of stay in that action.
       One vendor has threatened to file a mechanic lien post-petition for monies
owed prepetition. Under case law, that would violate the automatic stay. The same
vendor has agreed to provide credit post-petition to the Debtor.
       As a result of all of this, the Debtor’s first few weeks in Chapter 11 have not
been easy. Some jobs are stalled, at least for the moment. Other jobs are moving
forward smoothly.
       3.     Post-Petition Moving Forward
       The Debtor anticipates business will return closer to normal. Property owners


SCHEDULING AND CASE MANAGEMENT
CONFERENCE REPORT                                                      Page 4 of 18




                    Case 17-33893-tmb11      Doc 48   Filed 11/13/17
will get past unease from the filing. Sub-contractors, being paid post-petition for
post-petition work, will be less uncomfortable too. With one of the two less expensive
banks doing construction loans, the Debtor will be able to obtain construction loans
for its newer clients.
       Presently the Debtor has the various jobs including the following jobs under
construction or to begin construction:


       1.     A.N. This job is largely done but the amount of mechanics liens mean
              there is no profit in this job for the Debtor. It should be completed in
              December, 2017.
       2.     J.H. This job too is largely completed with a small amount of money
              owed to the Debtor. The recorded liens equal or exceed the amount the
              Debtor is owed.
       3.     S.C.   This job has no monies owed and is over-encumbered with
              mechanics liens. This is the house which caught on fire and the property
              owner had no fire insurance at the time. The Debtor intends to move to
              reject this construction contract.
       4.     K.G.       This job has no mechanics liens.    The contract amount is
              $422,128 and $146,100 has been paid so far. Completion is expected
              in February, 2018. The Debtor intends to complete the contract.
       5.     T.S. This job has no mechanics liens. The contract amount is $539,238
              and $50,000 has been paid thus far. The property does not have a
              construction loan. The project should be completed in May, 2018.
       6.     D.L. This job is for $275,000 with $153,806 paid, as of October 31st.
              Provided the property owner signs off on the draw requests and does not


SCHEDULING AND CASE MANAGEMENT
CONFERENCE REPORT                                                      Page 5 of 18




                     Case 17-33893-tmb11     Doc 48   Filed 11/13/17
             take steps to repudiate the construction contract, the job should be
             completed by December, 2017. There are no mechanics liens recorded
             against this property.
      The Debtor has jobs with signed contracts including the following:
      1.     K.K. This is a $700,000 job with the contract signed. The project is
             awaiting permits. Construction should begin in January and conclude
             in November, 2018. The lender is the lender which has stated it will
             work with the Debtor during the chapter 11 case.
      2.     J.C.    This is a $650,000 job with the contract signed and with the
             lender which will work with the Debtor.         The property owner is
             uncomfortable with the chapter 11 filing and the Debtor is asking the
             owner to reconsider. This job would begin in January and end in or
             about November, 2018.
      3.     D.G. This is a $380,000 contract with a signed contract. The property
             owner is seeking a construction loan with the lender which will work with
             the Debtor in the chapter 11 case. If the loan is approved, construction
             would begin in December, 2017, and conclude in or about July, 2018.
      There are additional clients in the design contract phase whose contracts are
not discussed above.
      The Debtor is in the middle of considerable construction work and has several
projects ready to start.
      4.     Motions or Other Matter to Be Filed
      The Debtor is contemplating the following motions in the near term:
      A.     A motion to assume the D.L. job. There are no mechanics liens against
             the D.L. property and the job should produce positive cash flow for the


SCHEDULING AND CASE MANAGEMENT
CONFERENCE REPORT                                                      Page 6 of 18




                    Case 17-33893-tmb11    Doc 48   Filed 11/13/17
         Debtor.
    B.   A motion to assume other construction projects which will produce
         positive cash flow.
    C.   A motion to reject the four properties encumbered by mechanic liens.
         The Debtor is reluctant to bring this motion because of the reputational
         damage the Debtor would suffer. The Debtor’s principal is considering
         obtaining monies to pay off some or all of these liens because of the
         importance of the Debtor’s reputation going forward.
    D.   A motion to assume the Debtor’s office space. The space consists of
         approximately 900 to 1,000 square feet.
    E.   When the Debtor’s financial health improves, the Debtor will determine
         if it can enter into a stipulation with the Funding Circle, which appears
         to be the senior lender, to provide adequate protection.
    F.   Disclosure Statement and Plan. It is premature to set any deadline to file
         either document. The Debtor needs to get past the early phase of the
         chapter 11 case. If it does, then the Debtor intends to reorganize and
         to pay its creditors a dividend over time.
    G.   As operating funds become more available, the Debtor intends to seek
         authority to retain an accountant and to pay it a post-petition retainer.
    H.   Adversary proceedings against both Knight Capital and Swift Financial
         to prevent either from executing on any judgment it may obtain against
         the Burtons and their assets. The Debtor believes it will be relying on the
         Burtons’ financial assets to assist the Debtor to grow during the
         reorganization and to fund a plan of reorganization. The Burtons are
         in the process of borrowing monies to be used for the reorganization.


SCHEDULING AND CASE MANAGEMENT
CONFERENCE REPORT                                                    Page 7 of 18




               Case 17-33893-tmb11      Doc 48   Filed 11/13/17
     5.    Chapter 11A fast track case
     The Debtor does not believe that its case should be so designated.
     6.    Exhibits
     Attached are the following exhibits:
     (A)   A cash flow analysis, prepared on a weekly basis through December,
           2017 on a weekly basis and then monthly thereafter. Exhibit “A”
     (B)   Historical financial information for the past two (2) years. Exhibit “B”
     (C)   An actual to budget report for the post-petition period with a payables
           report, both through November 10, 2017.            Exhibit “C”
     (D)   A budget of estimated professional fees during the chapter 11 case
           through May, 2018. This budget is, at best, an estimate given the
           uncertainties of any chapter 11 case. Here multiple attorneys have
           contacted counsel and have made requests which weigh on counsels’
           time. Also, given that the overall nature of this case is not yet clear, and
           will not be until the Debtor works its way out of its present difficulties, the
           budget is uncertain. Exhibit “D”
Dated: November 13, 2017               LAW OFFICES OF STEVEN R. FOX



                                       __/s/ Steven R. Fox______________________
                                       Steven R. Fox, proposed counsel for Creekside
                                       Homes, Inc., Debtor-in-Possession, California
                                       SBN 138808

                                       THE LAW OFFICES OF KEITH Y. BOYD

                                       __/s/ Keith Y. Boyd_______________
                                       Keith Y. Boyd, proposed counsel for
                                       Creekside Homes, Inc., Debtor-in-Possession,
                                       OSB #760701

SCHEDULING AND CASE MANAGEMENT
CONFERENCE REPORT                                                         Page 8 of 18




                 Case 17-33893-tmb11        Doc 48    Filed 11/13/17
          DECLARATION OF ANDREW BURTON IN SUPPORT OF
     CREEKSIDE HOMES, INC.’S SCHEDULING AND CASE MANAGEMENT
                        CONFERENCE REPORT

     I, Andrew Burton, declare as follows:
1.   I am the president and, with my wife Sarah Burton, I am the sole shareholder
     of Creekside Homes, Inc. I am its founder. My business address is 219 N.E.
     Highway 99 West, McMinnville, Oregon 97128. My statements here are based
     on my personal knowledge and if called to testify concerning the contents of
     my declaration, I could and would do so competently.
I.   AUTHENTICATION AND PERSONAL KNOWLEDGE.
2.   I am the Debtor’s President.      I founded the Debtor in 2003 and later
     incorporated the company.
3.   My roles with the Debtor include the following:
     •     I oversee office administration.
     •     I overseeing the creation and maintenance of the Debtor’s financial
           books and records.
     •     I oversee marketing and incoming calls for work.
     •     I oversee human resources.
     •     I oversee customer and public relations.
     •     I oversee marketing strategies and direction for the company.
     •     While I have an oversight role as to ongoing projects, they are directly
           overseen by employees Isaac Mitchell and James Elliott.
     •     I prepare the estimates for jobs (whether remodels or new homes) with
           help from Isaac Mitchell.
4.   I am one of the custodians of the Debtor’s books, records, and documents.
     The Debtor maintains records of its transactions in the regular course of

SCHEDULING AND CASE MANAGEMENT
CONFERENCE REPORT                                                    Page 9 of 18




                 Case 17-33893-tmb11     Doc 48   Filed 11/13/17
     business, and it is the Debtor’s practice and procedure to maintain records and
     to record transactions, acts, and events at or about the time the transaction
     occurs. The Debtor relies on these records in connection with its business
     dealings.
5.   I oversee the safekeeping of business records including financial records. The
     Debtor has business records primarily as computer files. If a business record
     is maintained on a computer, there are safety features which help to keep
     business records secure. For example, access to many records is limited for
     most employees. Financial records as one example can only be accessed if
     one has the necessary password. Only management level personnel have a
     necessary password. Other employees do not.
6.   The computer is linked to a server. The server backs up the data stored on the
     computer to the cloud. The server computer and attachments are maintained
     in a secured location and has an uninterruptible power supply.
7.   I have personal knowledge of the procedures for creating, receiving,
     maintaining, storing and retrieving documents and records. The Debtor’s
     business records are received, maintained, stored and retrieved in the ordinary
     course of the company’s course of business. It is the ordinary course of the
     business to receive, maintain, store and retrieve records including any business
     records attached as exhibits discussed below. People with knowledge of the
     records and any exhibits contained below recorded or made these exhibits
     discussed below. The records were recorded at or near the time of their receipt
     or creation in the ordinary course of business.
8.   In my declaration, I discuss various exhibits. As to each of them, I either
     prepared them, someone else prepared them but I inspected them or they were


SCHEDULING AND CASE MANAGEMENT
CONFERENCE REPORT                                                    Page 10 of 18




                 Case 17-33893-tmb11      Doc 48   Filed 11/13/17
      obtained or prepared based on records which I oversee. They are true and
      correct copies of what they appear to be.
II.   GENERAL BACKGROUND.
9.    The Debtor is an active Oregon corporation in good standing.
10.   When I was 19 years old, and prior to incorporating the Debtor, I started my
      own business performing carpentry, remodeling and new home building
      services. I incorporated the Debtor in 2009, and since then, the Debtor has
      operated a business constructing custom new homes, remodeling homes and
      acting as a project manager usually in and around McMinnville, Oregon. The
      Debtor typically employs 7 to 10 employees.
11.   In year 2003, when I was 22 years old, an investor backed me in the
      construction of a home on speculation. I built the spec home in part using my
      father’s tools. When the property was ready to sell, the housing market
      collapsed and buyers disappeared. I held on to the spec home and I paid the
      mortgage for a few years until I could sell it, which I did for a profit. From
      building the first spec home, and through the Debtor, I moved quickly into
      construction of new homes and remodels.
12.   The Debtor has the necessary licenses.
13.   The Debtor presently builds most of its custom homes in and around Yamhill
      County though it has done considerable home construction work as far north
      as Portland, as far south as Salem and out to the coast. The Debtor may
      construct up to ten homes annually and will oversee existing construction work
      and do some remodeling work. Most of the work is done by subcontractors.
14.   The Debtor’s typical customer reflects the Debtor’s niche in the McMinnville
      market. They tend to be married couples who have done well in employment,


SCHEDULING AND CASE MANAGEMENT
CONFERENCE REPORT                                                    Page 11 of 18




                  Case 17-33893-tmb11     Doc 48    Filed 11/13/17
       often engineers from high tech companies looking to build a home near the
       wineries, who see the cost of purchasing a home to be roughly equivalent to
       the cost of building a home (to their specifications) and they are willing to put
       up with the time and the demands of construction.
15.    The Peer Group. The Debtor is a member of the National Association of
       Homebuilders (both National and the Salem chapter) and belongs to a peer
       group of homebuilders. Twice annually, the members of the peer group travel
       to the business location of one member and take a couple of days to inspect
       that member’s business operation and its work in the field. That member’s
       books and records are opened up and scrutinized. Our margins and costs are
       inspected and critiqued. If that member’s operation is sloppy, we do not
       hesitate to say so.
16.    In September, 2017, the peer group visited the Debtor in McMinnville and
       spent a couple of days examining the Debtor’s books and records, interviewing
       staff and looking for problems.      The members of the peer group made
       suggestions about changes they believe would help the business, noted that the
       Debtor had already applied many suggestions and lessons from a prior visit
       in year 2014 and commented on the positive aspects of the business.
III.   NAMES OF ENTITIES ASSERTING AN INTEREST IN CASH COLLATERAL.
17.    The entities asserting an interest in cash collateral are described in the Report.
       The information was provided from the Debtor’s business records.
IV.    PROBLEMS LEADING TO THE FILING AND POTENTIAL SOLUTIONS.
18.    There are various reasons for the Debtor’s financial difficulties:
       •     The construction industry in and around McMinnville is doing well. There
             is a lot of work, actually, too much work. Subcontractors can take


SCHEDULING AND CASE MANAGEMENT
CONFERENCE REPORT                                                       Page 12 of 18




                   Case 17-33893-tmb11       Doc 48   Filed 11/13/17
            whichever jobs they want, not follow deadlines and over-bill ... and get
            away with these behaviors.
      •     There were cost overruns on some jobs due to a lack of oversight by
            Debtor personnel.
      •     The Debtor was not turning down work, even work that might have poor
            margins or property owners who were difficult people.
      •     With the shortage of subs, in the past year or two, jobs have been taking
            longer and longer to complete. This increases costs.
      •     The Debtor was not maintaining its financial books and records as well
            as perhaps it should have done.
      •     In 2016, the Debtor had 3 customers in the design phase who delayed
            construction work for up to one year. This happened again in 2017.
      •     The Debtor was fronting too many costs on construction sites.
      •     The Debtor took on too many jobs at one time.
      •     Last year at the J.C. project, the house caught fire. The homeowner then
            lacked fire insurance. The Debtor made accommodations to the bill
            something it turns out the Debtor could not afford to do. (The Debtor is
            more proactive now in making sure property owners both have and
            maintain their insurances.)
19.   To fix the problems that led to this bankruptcy filing, the Debtor has
      implemented or will implement, the procedures and changes described below.
      Some of these changes may not work; others may.
      •     The Debtor is limiting the pricing in its contracts for 90 days or less. The
            Debtor has added in to its contracts an escalation clause for increased
            costs of lumber, drywall, concrete and roofing.


SCHEDULING AND CASE MANAGEMENT
CONFERENCE REPORT                                                      Page 13 of 18




                  Case 17-33893-tmb11      Doc 48    Filed 11/13/17
      •     The Debtor now requires subs to work through the Debtor’s P.O. system
            to help manage costs and timeliness.
      •     The Debtor has increased its accounting staff.
      •     The Debtor is building its own preferred subcontractor list to have at
            least 3 subcontractors per trade, e.g., plumbing, roofing, electrical, in
            order to solicit more competitive bids.
      •     As homes are completed, the Debtor will stop using some subs who
            have been unreliable.
      •     For lender financed construction jobs, the Debtor is now demanding a
            deposit to help cover up-front expenses and avoiding the problem of the
            Debtor having to carry the front loaded expenses.
20.   That the Debtor recognizes these problems and has identified potential
      solutions makes it more likely that the Debtor will successfully reorganize.
V.    THE DEBTOR’S PRESENT STATUS.
21.   The Debtor presently has 6 construction jobs ongoing with a total contract price
      of roughly $2.59 million. The margins range from 17% to 25%. The Debtor
      has additional jobs which will start in the next few months. The aggregate
      gross dollar value of the additional jobs exceeds $1.9 million and the Debtor
      has bid for jobs of an additional $3.8 million. As part of the Debtor’s business
      model, it has a steady stream of jobs which come from customers who are in
      the design phase with the Debtor. Typical charges for the design contract work
      range from $5,000 to $12,000. The Debtor presently has 4 or 5 jobs in the
      design phase.
22.   In the Report to which my declaration is attached, there is a discussion of most
      of the Debtor’s jobs. The information in the Report is taken from information


SCHEDULING AND CASE MANAGEMENT
CONFERENCE REPORT                                                      Page 14 of 18




                  Case 17-33893-tmb11      Doc 48     Filed 11/13/17
      which I have provided for this Report. The information is reliable to the best of
      my knowledge as of today.
      2.    Post-Petition Matters - Business and Financial
23.   The Debtor will not reach the projection gross revenues post-petition for the
      following reasons:
      A.    The presence of mechanics liens on 3 jobs where monies are owed has
            caused the construction lenders to decline to pay the Debtor. The
            lenders want the mechanic liens cleared from title. The Debtor does not
            have a clear path to doing so without authorizing payment of prepetition
            claims to the mechanic lien claimants. Also, there is effectively no profit
            for the Debtor (or even a serious amount of money for cash flow) if the
            Debtor could authorize such payments. It seems that the better strategy
            is to reject these four construction contracts and to incur the damage to
            reputation instead. We had believed that with the chapter 11 filing, the
            lenders would release the funds. The Debtor does not expect to realize
            the gross revenue which it had initially projected.
      B.    One on-going job without mechanics liens, the D.L. job, has the
            property owner refusing to sign off on the monthly draw request to the
            construction lender. The property owner had contended that the Debtor
            was seeking to draw more than what it was entitled to draw. I made a
            point of agreeing to every one of the property owner’s demands but the
            property owner is not interested in signing off on the draw request. The
            property owner is acting in less than good faith and is seeking
            inappropriate advantages. This property owner has hired an attorney.
            The Debtor has stopped work on the D.L. job pending resolution. This


SCHEDULING AND CASE MANAGEMENT
CONFERENCE REPORT                                                      Page 15 of 18




                  Case 17-33893-tmb11      Doc 48    Filed 11/13/17
            will cost the Debtor revenue of approximately $21,520 which the Debtor
            had forecast to be paid during the week ending November 17th.
24.   As a result, there are some small post-petition payables which the Debtor
      expects to pay in the week prior to November 20th.
25.   To reflect the changes in revenues the Debtor has experienced, and over the
      past couple of days, the Debtor has prepared a revised projection of gross
      revenues, COGS, expenses, net and cash flow.          It is meant to supplant the
      projection attached to the previously filed Amended Motion for Use of Cash
      Collateral on a Final Basis. The revised projection reflects lowered revenues
      and some changes to COGS. In addition, expenses in the week ending 11/10
      were moved to the next week due to a lack of funds.
26.   The Debtor has four lenders it has utilized when a construction loan was
      needed. Two lenders are more expensive than the other two. Post-petition the
      Debtor has had one of the lower cost construction lenders inform the Debtor
      that it would not approve new construction loans for the Debtor during the
      chapter 11 case and declined to fund one pending construction loan for a
      project ready to go. Conversely, the second lower cost lender has informed the
      Debtor that despite the chapter 11 filing, it will fund construction loans and will
      increase to ten (10) the number of construction loans it will fund at any one
      time where the Debtor is the general contractor. The Debtor is attempting to
      change the first lender’s declination.
27.   Some sub-contractors are continuing to do business with the Debtor on credit
      terms; others are not.
28.   I have been informing property owners about the chapter 11 filing, including
      property owners whose properties are encumbered by mechanic liens.


SCHEDULING AND CASE MANAGEMENT
CONFERENCE REPORT                                                       Page 16 of 18




                   Case 17-33893-tmb11      Doc 48    Filed 11/13/17
29.   On November 8th, an arbitration was held in New Jersey in an action Swift
      Financial brought against the Debtor, my wife and me. I do not claim to
      understand what happened. I listened on the phone. I believe that the
      arbitrator awarded monies against my wife and me.
30.   Knight Capital brought suit prepetition against the Debtor for breach of
      contract and against the Burtons on guaranties in Florida state court. It is my
      understanding that Knight took a judgment against my wife and me.
31.   One vendor has threatened to file a mechanic lien post-petition for monies
      owed prepetition and it has also agreed to provide credit post-petition to the
      Debtor.
32.   As a result of all of this, the Debtor’s first few weeks in Chapter 11 have not
      been easy. Some jobs are stalled, at least for the moment. Other jobs are
      moving forward smoothly.
      3.    Post-Petition Moving Forward
33.   As the shock of the filing wears off, business will return closer to normal.
      Property owners will get past unease from the filing. Sub-contractors, being
      paid post-petition for post-petition work, will be less uncomfortable too. With
      one of the two less expensive banks doing construction loans, the Debtor will
      be able to obtain construction loans for its newer clients. The Report provides
      more information about specific jobs.
34.   I am applying for monies to be secured by my properties and the monies
      would be used to help the Debtor reorganize. The Debtor will have needs for
      funding on a short term basis in the event that its cash on hand runs too low.




SCHEDULING AND CASE MANAGEMENT
CONFERENCE REPORT                                                    Page 17 of 18




                  Case 17-33893-tmb11      Doc 48   Filed 11/13/17
      It will likely need funds to exit chapter 11.
      Executed on November 13, 2017.
      I declare under the penalty of perjury and under the laws of the U.S. of
America that the foregoing is true and correct.


                                               __/s/ Andrew Burton______________
                                                     Andrew Burton




SCHEDULING AND CASE MANAGEMENT
CONFERENCE REPORT                                                      Page 18 of 18




                   Case 17-33893-tmb11      Doc 48    Filed 11/13/17
                               CERTIFICATE OF SERVICE

             I hereby certify that on November 13, 2017, I served the following
      SCHEDULING AND CASE MANAGEMENT CONFERENCE REPORT by
      depositing in the United States mail at Encino, California full and complete
      copies thereof, by first class mail, postage prepaid, or email transmission
      where indicated, addressed to the following:


             None


             I hereby certify that on November 13, 2017, I determined from the
United States Bankruptcy Court electronic case filing system that the following parties
will be served electronically via ECF:
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Dated: November 13, 2017                          THE FOX LAW CORPORATION



                                                  By__/s/ Sandy Cuevas_______
                                                    Sandy Cuevas,
                                                    Legal Assistant




CERTIFICATE OF SERVICE                                                         Page 1 of 1




                    Case 17-33893-tmb11       Doc 48     Filed 11/13/17
                                                Exhibit "A" Page 1 of 8


Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "A" Page 2 of 8


Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "A" Page 3 of 8


Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "A" Page 4 of 8


Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "A" Page 5 of 8


Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "A" Page 6 of 8



Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "A" Page 7 of 8


Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "A" Page 8 of 8


Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "B" Page 1 of 9


Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                         Exhibit "B" Page 2 of 9
Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "B" Page 3 of 9



Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                           Exhibit "B" Page 4 of 9




Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "B" Page 5 of 9



Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                           Exhibit "B" Page 6 of 9
Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "B" Page 7 of 9



Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "B" Page 8 of 9



Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "B" Page 9 of 9



Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "C" Page 1 of 4


Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "C" Page 2 of 4




Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "C" Page 3 of 4



Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "C" Page 4 of 4



Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "D" Page 1 of 8


Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                            Exhibit "D" Page 2 of 8




Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                            Exhibit "D" Page 3 of 8



Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "D" Page 4 of 8




Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "D" Page 5 of 8



Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                           Exhibit "D" Page 6 of 8



Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "D" Page 7 of 8



Case 17-33893-tmb11   Doc 48   Filed 11/13/17
                                                Exhibit "D" Page 8 of 8

Case 17-33893-tmb11   Doc 48   Filed 11/13/17
